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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

 DAVID WATTS,

        Plaintiff,                                                      ORDER
 v.
                                                               Case No. 21-cv-717-wmc
 MARK KARTMAN, et al

        Defendants.


       Plaintiff David Watts has filed a proposed civil complaint and requested leave to

proceed without prepaying the filing fee. To evaluate plaintiff’s request to proceed without

prepayment of the filing fee, I must review a certified copy of plaintiff’s inmate trust fund

account statement (or institutional equivalent) for the six-month period immediately preceding

the filing of the complaint. 28 U.S.C. § 1915(a)(2).

       For this case to proceed, plaintiff must submit the certified trust fund account statement

no later than December 3, 2021. If I find that plaintiff is indigent, I will calculate an initial

partial payment amount that must be paid before the court can screen the merits of the

complaint under 28 U.S.C. § 1915(e)(2). Thereafter, plaintiff will be required to pay the

balance of the filing fee in installments.




                                             ORDER

       IT IS ORDERED that plaintiff David Watts may have until December 3, 2021 to

submit a trust fund account statement for the period beginning approximately May 12, 2021

and ending approximately November 12, 2021. If, by December 3, 2021, plaintiff fails to
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respond to this order, I will assume that plaintiff wishes to withdraw this action voluntarily.

In that event, the case will be closed without prejudice to plaintiff filing the case at a later date.




               Entered this 12th day of November, 2021.

                                       BY THE COURT:


                                       /s/
                                       PETER OPPENEER
                                       Magistrate Judge
